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                                            EXHIBIT B

                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

 LIGTEL COMMUNICATIONS, INC.,

                Plaintiff,

        v.                                            Case No. 1:20-cv-00037-HAB-SLC

 BAICELLS TECHNOLOGIES INC.;
 BAICELLS TECHNOLOGIES NORTH
 AMERICA INC.,

                Defendants.



    DEFENDANTS BAICELLS TECHNOLOGIES INC. AND BAICELLS TECHNOLOGIES
   NORTH AMERICA INC.’S FIRST SET OF INTERROGATORIES TO PLAINTIFF LIGTEL
                           COMMUNICATIONS, INC.

                Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Defendants

 Baicells Technologies Inc. and Baicells Technologies North America Inc. (“Defendants” or

 “Baicells”), by and through counsel, request that Plaintiff LigTel Communications, Inc.

 (“Plaintiff” or “Ligtel”) serve upon the undersigned attorneys answers, under oath, to each of the

 following interrogatories within the time ordered by the Court.

                                          DEFINITIONS

        1.      “Defendants” or “Baicells” means Baicells Technologies Inc. and Baicells

 Technologies North America Inc., the defendants in the above-captioned proceeding.

        2.      “Plaintiff,” “LigTel,” “You,” or “Your” means LigTel Communications, Inc., the

 plaintiff in the above-captioned action, its subsidiaries, divisions, predecessor and successor

 companies, affiliates, parents, any partnership or joint venture to which it may be a party, and/or

 each of its employees, agents, officers, directors, representatives, consultants, accountants, and
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 attorneys, including any person who served in any such capacity at any time during the relevant

 time period specified herein.

        3.      A reference to a “person” includes an individual, corporation, partnership, joint

 venture, limited liability company, governmental authority, unincorporated organization, trust,

 association, or other entity and includes all of that person’s principals, employees, agents,

 attorneys, consultants, and other representatives.

        4.      The terms “Document” and “Documents” are used in the broadest sense

 allowable under Rule 34(a)(l)(A) of the Federal Rules of Civil Procedure, and Rule 1001(a)-

 (d) of the Federal Rules of Evidence, and include any written, printed, typed, photocopied,

 photographed, recorded, or otherwise reproduced or stored communication or representation,

 whether comprised of letters, words, numbers, data, pictures, sounds, or symbols, or any

 combination thereof. The terms include also, without limitation, correspondence, memoranda,

 notes, records, letters, envelopes, telegrams, messages, studies, analyses, contracts,

 agreements, working papers, accounts, analytical records, reports, and/or summaries of

 investigations, press releases, comparisons, books, calendars, diaries, articles, magazines,

 newspapers, booklets, brochures, pamphlets, circulars, bulletins, notices, drawings, diagrams,

 instructions, notes of meetings or communications, electronic mail/messages and/or email,

 texts, instant messaging, questionnaires, surveys, charts, graphs, photographs, films, tapes,

 disks, data cells, print-outs of information stored or maintained by electronic data processing

 or word processing equipment, and all other data compilations from which information can be

 obtained,    including,    without    limitation,       thumb   drives,   external   hard   drives,

 electromagnetically sensitive storage media such as CDs, DVDs, memory sticks, floppy disks,



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 hard disks, and magnetic tapes. The term “Document” also means every copy of a document

 where such copy is not an identical duplicate of the original.

        5.      The term “communication(s)” means any conveyance, disclosure, transfer,

 transmittal, or exchange of oral or written information (in the form of facts, ideas, inquiries, or

 otherwise) between or among one or more persons or entities.

        6.      The terms “concerning,” “relating to,” “related to,” “referring or relating to,”

 “relate to,” or “refer to,” “referencing,” mean to address, comprise, consider, reflect, record,

 reference, memorialize, mention, describe, discuss, contradict, evaluate, consider, review,

 pertain to, summarize, or report on the subject matter of the Request or to have been created,

 generated, or maintained in connection with or as a result of the subject matter of the Request.

        7.      As used herein, “and” and “or” shall be construed both conjunctively and

 disjunctively, the intent being to include rather than exclude the information requested. As used

 herein, “all” means any and all and the terms “each” and “any” mean all, every, each, and any.

 Similarly, the singular of a noun or pronoun includes the plural and vice versa.

        8.      The terms “all,” “any,” or “each” encompass any and all of the matter discussed.

        9.      The term “including” shall be construed to mean “including but not limited to”

 and “including without limitation” as necessary to bring within the scope of the Request all

 responses that might otherwise be construed to be outside of its scope.

        10.     The use of present tense includes past tense, and vice versa.

        11.     The term “mark” means any word, name, symbol, or device or any combination

 thereof.

        12.     The term “LigTel HNI Code” refers to the HNI code used by LigTel, as set forth

 in the Complaint, including without limitation as described in paragraph 32.

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                                         INSTRUCTIONS

         1.     With regard to each Interrogatory, should the answer require the identification of

 a person or entity, state, to the extent known, the (i) person or entity’s full name, (ii) present or

 last known business and home addresses, (iii) occupation, employer, and position, (iv) telephone

 number and e-mail address, and (v) the relationship, if any to Defendant(s) of each such person

 or entity.

         2.     With regard to each Interrogatory, should the answer require the identification of

 documents, state, to the extent known, the (i) type of document (e.g., memo, e-mail, text

 message, etc.), (ii) general subject matter, (iii) date of the document, and (iv) author(s),

 addressee(s), and recipient(s).

         3.     If documents are being produced in lieu of answers pursuant to Fed. R. Civ. P.

 33(d), or if Defendant's answer can be found in documents produced in response to a specific

 document request, identify, by document production number or similar means, the specific

 documents wherein the answer is located and, unless apparent on the face of the document, state

 where within the document the answer can be found.

         4.     For the convenience of the Court and the parties, each interrogatory should be

 quoted in full immediately preceding the response.

         5.     These interrogatories are continuing in nature. If you receive or otherwise become

 aware of information responsive to any interrogatory after you have served your answers to these

 interrogatories, you must promptly supplement your answers to these interrogatories to provide

 such information, as required by Federal Rule of Civil Procedure 26(e).




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                                      INTERROGATORIES

        INTERROGATORY NO. 1:                   Describe in detail all facts and circumstances

 supporting that the LigTel HNI Code, or any related mark that LigTel asserts is at issue in this

 lawsuit, is protectable as a trademark or service mark under the Lanham Act.

        ANSWER:




        INTERROGATORY NO. 2:                   Describe in detail all classes and/or types of

 customers that comprise the intended market for goods or services offered for sale, sold, or

 provided or intended to be offered for sale, sold, or provided by LigTel under or in connection

 with the LigTel HNI Code.

        ANSWER:




        INTERROGATORY NO. 3:                   For each class or type of customer identified or

 described in response to Interrogatory Number 2, describe in detail all facts and circumstances

 supporting that such class or type of customer is likely to associate or identify, or does associate

 or identify, the LigTel HNI Code with LigTel’s goods or services.

        ANSWER:




        INTERROGATORY NO. 4:                   Identify all geographic regions in which LigTel has

 or has caused to be advertised, promoted, displayed, distributed, offered for sale, sold, or

 provided, or plans or intends to advertise, promote, display, distribute, offer for sale, sell, or
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 provide, either directly or through others, any goods or services under or in connection with the

 LigTel HNI Code.

        ANSWER:




        INTERROGATORY NO. 5:                   Identify   and   describe    the   nature    of   any

 advertisements, promotional materials, and marketing materials, including by identifying specific

 media (e.g., websites, brochures, etc.), in which LigTel is using, has used, or plans to use the

 LigTel HNI Code.

        ANSWER:




        INTERROGATORY NO. 6:                   Describe in detail each and every instance of which

 LigTel is aware in which any person has been in any way confused, mistaken, or deceived as to

 the origin or sponsorship of any goods or services sold or offered for sale as a result of Baicells’

 alleged use of the LigTel HNI Code, including that person’s connection to Ligtel or Baicells,

 whether as a consumer, competitor, supplier, or otherwise, and that person’s level of

 sophistication.

        ANSWER:




        INTERROGATORY NO. 7:                   Describe in detail all facts and circumstances that

 support Your allegation in paragraph 43 of the Complaint that “BaiCells has continued to publish




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 LigTel’s HNI code on BaiCells’s website and continued to instruct new customers to use

 LigTel’s HNI code.”

        ANSWER:




        INTERROGATORY NO. 8:                  Describe in detail all facts and circumstances that

 support Your allegations in paragraphs 49, 59, and 68 of the Complaint that “[t]his creates a high

 likelihood of confusion among other wireless service providers, which will think that any

 problems or interference caused by BaiCells’s equipment are actually problems caused by LigTel

 and that LigTel is not complying with ITU and ATIS communications rules,” and that “LigTel’s

 name and reputation is being denigrated in the marketplace as a result of BaiCells’s conduct.”

        ANSWER:




        INTERROGATORY NO. 9:                  Describe in detail all facts and circumstances that

 support Your allegations in paragraphs 51, 61, and 70 of the Complaint that “LigTel’s reputation

 and goodwill is damaged, other network providers will not give LigTel favorable terms when

 negotiating cross-border and interoperability agreements, and LigTel’s customers may suffer

 reductions in service and lose confidence in the security and reliability of LigTel’s network.”

        ANSWER:




        INTERROGATORY NO. 10:                 Describe in detail all facts and circumstances that

 support Your allegations in paragraphs 53, 63, and 72 of the Complaint that “BaiCells’s use of


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 LigTel’s HNI code could cause grave harm to the public by leading law enforcement to obtain a

 subpoena or warrant relating to someone that appears to be a LigTel subscriber . . . but who is

 not actually a LigTel subscriber,” and “[i]n that event, LigTel could not comply with the lawful

 process and could not aid law enforcement in obtaining the sought-after information.”

        ANSWER:




        INTERROGATORY NO. 11:                Describe in detail all facts and circumstances,

 including the specific nature of any alleged misappropriation, that support Your allegation in

 paragraph 76 of the Complaint that “BaiCells has misappropriated LigTel’s trade secrets,

 including LigTel’s encryption code and its network architecture, design, and engineering.”

        ANSWER:




        INTERROGATORY NO. 12:                Describe in detail all facts and circumstances that

 support Your allegation in paragraph 78 of the Complaint that “BaiCells selected LigTel’s HNI

 code because BaiCells possessed LigTel’s trade secrets.”

        ANSWER:




        INTERROGATORY NO. 13:                Describe in detail all facts and circumstances that

 support Your allegation in paragraph 80 of the Complaint that “BaiCell’s possession of LigTel’s

 encryption code and network architecture, engineering, and design would allow BaiCells to

 access LigTel’s network design and engineering, decrypt communications between LigTel’s


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 subscribers and LigTel’s network, and gain unauthorized access to LigTel’s network,” including

 the basis for your assertion that BaiCells possesses LigTel’s encryption code and network

 architecture, engineering, and design.

        ANSWER:




        INTERROGATORY NO. 14:                   Identify and describe in detail each and every

 purported trade secret that LigTel alleges is at issue in this lawsuit.

        ANSWER:




        INTERROGATORY NO. 15:                   For each purported trade secret identified in

 response to Interrogatory Number 14, describe all efforts taken by LigTel to maintain the secrecy

 of that purported trade secret.

        ANSWER:




        INTERROGATORY NO. 16:                   Describe in detail all facts and circumstances that

 support Your allegation in paragraph 41 of the Complaint that “Mead interpreted Wei’s offer as

 implying that Mao could do the work on LigTel’s core without LigTel providing him with

 proprietary trade secret information,” and that “Mead viewed the offer as a threat that Mao

 would attempt to gain access to LigTel’s core without LigTel’s permission,” including the basis

 and all supporting facts and circumstances for Mead’s views.

        ANSWER:


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        INTERROGATORY NO. 17:                   Describe in detail all facts and circumstances that

 support Your allegation in paragraph 42 of the Complaint that “BaiCells has not agreed to return

 LigTel’s trade secrets, to not use those trade secrets, or to not threaten to use those trade secrets,”

 including explaining what it would mean for Baicells to “return” any alleged trade secrets.

        ANSWER:




        INTERROGATORY NO. 18:                   Identify all documents that are relevant to each of

 the foregoing interrogatories, designating the number of each interrogatory for which such

 documents are relevant.

        ANSWER:




        INTERROGATORY NO. 19:                   Identify all persons that furnished information for

 the response to these interrogatories, designating the number of each interrogatory for which

 such persons furnished information.

        ANSWER:




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 Dated: February __, 2020

                                     Respectfully submitted,

                                     ICE MILLER LLP


                                     /s/ Adam Arceneaux
                                     Adam Arceneaux, Attorney No. 17219-49
                                     Eric J. McKeown, Attorney No. 27597-49
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                                CERTIFICATE OF SERVICE

        I hereby certify that on February __, 2020, I caused a true and correct copy of Defendants
 Baicells’ First Set of Interrogatories to Plaintiff Ligtel Communications, Inc. (“LigTel”) to be
 served via First-class mail on counsel of record for LigTel.


                                             /s/ Adam Arceneaux
                                             Adam Arceneaux

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